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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-814V
                                        UNPUBLISHED


    PATRICIA MCDORMAN,                                      Chief Special Master Corcoran

                        Petitioner,                         Filed: October 5, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Summer Pope Abel, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Terrence Kevin Mangan, Jr., U.S. Department of Justice, Washington, DC, for
respondent.

                                   RULING ON ENTITLEMENT 1

        On June 3, 2019, Patricia McDorman filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that as a result of her November 16, 2017 influenza
(“flu”) vaccination she suffered a Shoulder Injury Related to Vaccine Administration
(“SIRVA”). Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.




1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       On October 1, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent indicates that

       DICP has reviewed the petition and medical records filed in the case, and
      concluded that compensation is appropriate. DICP has concluded that
      petitioner’s alleged injury is consistent with SIRVA of the left arm and that it
      meets the requirements of a Table injury claim for SIRVA stemming from
      the flu vaccination on November 16, 2017. DICP did not identify any other
      causes for petitioner’s left arm injury, and records show that she suffered
      the sequela of this injury for more than six months. Based on the medical
      records outlined above, petitioner has met the statutory requirements for
      entitlement to compensation. See 42 U.S.C. § 300aa-13(a)(1)(B); 42 U.S.C.
      § 300aa-11(c)(1)(D).

Id. at 5. Respondent further agrees that “based on the record as it now stands, petitioner
has satisfied all legal prerequisites for compensation under the Act. The scope of any
damages award should be limited to petitioner’s left SIRVA and its related sequela.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master
